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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


    In Re: COOK MEDICAL, INC., IVC      )
    FILTERS MARKETING, SALES            )
    PRACTICES AND PRODUCT               )
    LIABILITY LITIGATION                )               1:14-ml-02570-RLY-TAB
    ___________________________________ )               MDL No. 2570
                                        )
    This Document Relates to:           )
                                        )
    Julie Wilson                        )
    1:17-cv-3050-RLY-TAB                )
    ___________________________________ )


            ORDER GRANTING PLAINTIFF'S MOTION TO DISMISS

       On March 30, 2022, Plaintiff Julie Wilson filed a Motion to Dismiss her

bellwether case with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(2).

That rule provides that "an action may be dismissed at the plaintiff's request only by court

order, on terms that the Court considers fair." The Cook Defendants1 urge the court to

deny the motion, as it was filed "more than a year after her case was selected for

inclusion in the bellwether discovery pool, more than a year after she produced updated

medical authorizations permitting Cook to begin evaluating her claims, and more than

four months after her case was dismissed with prejudice." (Filing No. 21820, Defs.' Opp.

at 8). In the alternative, the Cook Defendants request they be reimbursed for the

attorneys' fees and costs they have incurred in working up the Wilson case.


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  The Cook Defendants are: Cook Incorporated, Cook Medical LLC (f/k/a Cook Medical
Incorporated), and William Cook Europe APS.
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       The court, having reviewed the parties' submissions and the applicable law, finds

Plaintiff's Motion to Dismiss should be granted and that the Cook Defendants are entitled

to their costs but not their attorneys' fees.

       IT IS THEREFORE ORDERED that Plaintiff's Motion to Dismiss (Filing No.

21723) is GRANTED. Plaintiff's claims are DISMISSED WITH PREJUDICE with

each party to bear their own attorneys' fees. The Cook Defendants shall recover the costs

incurred in connection with the Wilson bellwether case between November 9, 2021, the

day the court designated the Wilson case for a bellwether trial, and March 30, 2022, the

date Plaintiff filed her motion for voluntary dismissal with prejudice.

       IT IS FURTHER ORDERED that on or before August 26, 2022, the Cook

Defendants shall file an itemized list of the costs incurred in the preparation of the Wilson

case between November 9, 2021, and March 30, 2022. Any objection to the Cook

Defendants' costs shall be filed on or before September 9, 2022, and any reply shall be

filed on or before September 16, 2022.



SO ORDERED this 20th day of July 2022.




                                                         s/RLY



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